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                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 THE CITY OF CHICAGO,
                                                    Civil Action No. 1:17-cv-05720
                                Plaintiff,
                 v.                                 Hon. Harry D. Leinenweber

 JEFF SESSIONS, Attorney General of the
 United States,

                                Defendant.


                      RESPONSE TO PLAINTIFF’S MOTION FOR LEAVE
                          TO CITE SUPPLEMENTAL AUTHORITY

       Plaintiff’s “Motion for Leave to Cite Supplemental Authority” asks the Court to consider

the Supreme Court’s recent decision in Murphy v. National Collegiate Athletic Association, 138

S. Ct. 1461, 2018 WL 2186168 (May 14, 2018), in connection with the parties’ pending

dispositive motions. Although the defendant does not oppose plaintiff’s request for leave to cite

Murphy, defendant disagrees with plaintiff’s conclusion regarding the applicability of that

decision to this action.

       The Murphy decision has little application to plaintiff’s claim that 8 U.S.C. § 1373 is

unconstitutional. Most fundamentally, Murphy is inapposite because the facial validity of

Section 1373 is not legitimately before the Court. Since this case concerns conditions on a

voluntary federal grant, the Section 1373 compliance condition challenged here cannot

“commandeer” Chicago’s resources or employees. Thus, the proper law to apply is Spending

Clause jurisprudence, under which obligations on States or local governments can be imposed

when they are germane to the subject program. The Supreme Court has routinely held that

conditioning the receipt of federal funds on whether a state or local jurisdiction complies with a
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federal statute or takes some other action does not violate the Tenth Amendment, so long as the

“State could . . . adopt the simple expedient of not yielding to what she urges is federal

coercion.” S. Dakota v. Dole, 483 U.S. 203, 210 (1987) (“[A] perceived Tenth Amendment

limitation on congressional regulation of state affairs d[oes] not concomitantly limit the range of

conditions legitimately placed on federal grants.”).

       Even if this Court were to evaluate the facial constitutionality of Section 1373, Murphy

would support its legality. The statute at issue in Murphy – the Professional Amateur Sports

Protection Act of 1992 (“PASPA”) – prohibited the States from authorizing any “betting,

gambling, or wagering scheme based . . . on competitive sporting events.” Id. at *4. That statute

was a clear effort to avoid accountability by requiring the States themselves to regulate sports

betting in the manner Congress wished. See id. at *12. Section 1373, on the other hand, is

simply an information-access component of a regulatory scheme – immigration removal – over

which the Federal Government retains full responsibility and accountability for its actions.

       In Murphy, New Jersey repealed its existing statutory prohibition on sports gambling, and

the NCAA challenged that repeal as a violation of PASPA. Id. at *6. The Supreme Court

rejected the challenge, holding that PASPA violated the Tenth Amendment by effectively

requiring each State to enact and “maintain” a prohibition on sports gambling. Id. at *10. The

Court held that the Tenth Amendment prohibits Congress from “command[ing] a state govern-

ment to enact state regulation” or “compelling them to enact and enforce a federal regulatory

program.” Id. at *11 (quoting New York v. United States, 505 U.S. 144, 161, 178 (1992)). Chief

among the Court’s concerns was that Congress could seek to deflect political accountability by

commanding the States to impose regulation in an area where the Federal Government itself had

been largely silent. Id. at *12.




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       By comparison, the Immigration and Naturalization Act (“INA”) as a whole, and Section

1373 in particular, are very different. Rather than compelling the States to “enact state regula-

tion” or to “enact and enforce a federal regulatory program,” Section 1373 is merely an

information-access component of the overall alien removal scheme, over which the Federal

Government takes full responsibility for regulation of and enforcement against individuals under

the INA. See generally Arizona v. United States, 567 U.S. 387, 394 (2012) (“The Government of

the United States has broad, undoubted power over the subject of immigration and the status of

aliens.”). Whereas PASPA sought to compel the enactment and maintenance of a state statutory

scheme, Section 1373 merely protects the Federal Government’s ability to access the information

necessary to carry out a federal scheme in an area highly regulated by the Federal Government.

As such, Section 1373 ensures that the Federal Government has the information it needs to

“regulate individuals, not States.” Murphy, 2018 WL 2186168, at *15 (quotation omitted).

       The reasoning of Murphy supports the constitutionality of Section 1373 for several

reasons. First, Murphy did not call into question any aspect of Arizona v. United States, but cited

it favorably with respect to the settled understanding that the Federal Government enjoys broad

authority in the area of immigration and that Congress may “’foreclose any state regulation in the

area,’” id. at *16 (quoting Arizona, 567 U.S. at 401). Here, Section 1373 forecloses conflicting

state regulation that would preclude access to information regarding the regulated individuals.

Murphy thus supports defendant’s argument that States may not employ conflicting standards

and practices that interfere with the federal scheme. See Arizona, 567 U.S. at 395, 406 (noting

that “[f]ederal governance of immigration and alien status is extensive and complex” and that

States may not “interfere with the careful balance struck by Congress” in immigration law).




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        Second, Section 1373 simply underscores that States and localities may not use their

custody of aliens subject to removal proceedings to impair the Federal Government’s enforce-

ment of federal law; the analysis in Murphy would likely have been very different if PASPA had

only required States to share information regarding sports betting operations to facilitate federal

regulation. See Printz v. United States, 521 U.S. 898, 918 (1997) (stating that federal statutes

that “require only the provision of information to the Federal Government, do not involve . . . the

forced participation of the States’ executive in the actual administration of a federal program”);

see also, e.g., Organized Crime Control Act of 1970, Pub. L. No. 91-452, § 806, 84 Stat. 922,

939-40 (creating commission to evaluate national policy towards gambling, which was

“authorized to call upon . . . States to furnish, on a reimbursable basis or otherwise, such

statistical data, reports, and other information as the Commission deems necessary”).

        Third, the Supreme Court has explained elsewhere that its precedents on “commandeer-

ing” do not apply in the same way when access to information is at issue, a principle that Murphy

did not question. The Constitution does not prohibit federal enactments that “do[ ] not require

the States in their sovereign capacity to regulate their own citizens,” but instead “regulate[ ] the

States as the owners of data bases.” Reno v. Condon, 528 U.S. 141, 151 (2000). Thus, the Court

upheld a federal statute that “restrict[ed] the States’ ability to disclose a driver’s personal

information without the driver’s consent.” Id. at 144. It made no difference that compliance

with the statute would “require time and effort on the part of state employees,” id. at 150, or that

the State had acquired the relevant information in its capacity as a regulator of drivers. Further,

the Court has recognized that statutes “which require only the provision of information to the

Federal Government[ ] do not involve . . . the forced participation of the States’ executive in the

actual administration of a federal program.” Printz, 521 U.S. at 918. As Justice O’Connor




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explained, the Supreme Court’s Tenth Amendment cases are not properly read to invalidate

reporting requirements, such as the requirement for “state and local law enforcement agencies to

report cases of missing children to the Department of Justice.” Id. at 936 (O’Connor, J.,

concurring) (citing 42 U.S.C. § 5779(a)). This is because an information-access requirement like

Section 1373 does not “regulate the States’ sovereign authority to regulate their own citizens,”

Murphy, 2018 WL 2186168, at *14 (internal quotation marks omitted), but ensures federal

access to information regarding regulated individuals that is needed for the Federal Government

to regulate those individuals. Thus, since Section 1373 merely secures information needed to

carry out a federal statutory scheme, there is no concern here regarding a deflection of political

responsibility. See Arizona, 567 U.S. at 401 (referring to “comprehensive” federal statutory

framework for regulation of immigration).

       Finally, plaintiff seeks to rely on the Murphy Court’s observation that PASPA’s

characterization as a positive demand or a negative prohibition was irrelevant to the Court’s

holding (Pl’s Motion at 2-3, quoting Murphy, 2018 WL 2186168, at *13). But that observation

was not the fulcrum of the Court’s decision nor the operative distinction between PASPA and

Section 1373. PASPA violated the Tenth Amendment because it sought to compel the States to

enact state regulation and deflect federal accountability for that regulation; the Court’s

observation regarding positive demands and negative prohibitions was simply a rejection of an

attempt to establish that PASPA did not constitute such a compulsion. 2018 WL 2186168, at

*13. Thus, for purposes of determining the effect of Murphy in this case, if any, it is irrelevant

whether Section 1373 is a positive demand or a negative prohibition.

Dated: May 31, 2018




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                                         Respectfully submitted,

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